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        &lt;div&gt;&lt;header&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="119ffa0c86"&gt;&lt;span data-sentence-id="19b8b49c1a" quote="false" data-paragraph-id="119ffa0c86"&gt; The People of the State of Colorado, Petitioner/Cross-Respondent &lt;br /&gt; v.&lt;/span&gt;&lt;span data-sentence-id="79bae0925e" quote="false" data-paragraph-id="119ffa0c86"&gt; &lt;br /&gt; Steven Matthew Ramirez, Respondent/Cross-Petitioner &lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="f9b06b005a"&gt;No. 22SC128&lt;/p&gt;&lt;p data-paragraph-id="2fefc1cee8"&gt;&lt;span data-sentence-id="2fefc1cee8" quote="false" data-paragraph-id="2fefc1cee8"&gt;Supreme Court of Colorado, En Banc&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="ae9ab08ac5"&gt;November 14, 2022&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p id="AppealLine" data-paragraph-id="65f4470e8e"&gt;&lt;span data-sentence-id="69138a0a80" quote="false" data-paragraph-id="65f4470e8e"&gt; Court of Appeals Case No. 18CA1686 &lt;/span&gt;&lt;/p&gt;
 &lt;p id="MajorityOpinion" data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d49c11812e"&gt;&lt;span data-sentence-id="e95688d557" quote="false" data-paragraph-id="d49c11812e"&gt; Petition and Cross-Petition for Writ of Certiorari DENIED.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;1&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;/div&gt;
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